    Case 19-42886              Doc 80       Filed 11/12/19 Entered 11/12/19 19:54:29                             Desc Main
                                              Document     Page 1 of 7


                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

In re:                                                          §      Chapter 11
                                                                §
ZENERGY BRANDS, INC., et al,1                                   §      Case No. 19-42886
                                                                §
                               Debtor.                          §      (Jointly Administered)
                                                                §

        APPLICATION TO EMPLOY KANE RUSSELL COLEMAN LOGAN PC AS
       COUNSEL FOR THE OFFICIAL UNSECURED CREDITORS' COMMITTEE


                                14-DAY NEGATIVE NOTICE – LBR 2014(A):

          YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN
          THIS PLEADING. YOU SHOULD READ THIS PLEADING
          CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU
          HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE THE
          RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN
          OBJECTION, EXPLAINING THE FACTUAL AND/OR LEGAL BASIS
          FOR OPPOSING THE RELIEF.

          NO HEARING WILL BE CONDUCTED ON THIS APPLICATION
          UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
          THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON
          THE PARTY FILING THIS PLEADING WITHIN FOURTEEN (14)
          DAYS FROM THE DATE OF SERVICE SHOWN IN THE
          CERTIFICATE OF SERVICE UNLESS THE COURT SHORTENS OR
          EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
          OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING
          SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY
          ENTER AN ORDER GRANTING THE RELIEF SOUGHT. IF AN
          OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE
          COURT WILL THEREAFTER SET A HEARING WITH APPROPRIATE
          NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
          OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE
          RIGHT TO SET A HEARING ON ANY MATTER.




1
  The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045); Zenergy Power & Gas,
Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and Zen Technologies, Inc. (7309). The above-
captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano, TX 75024.

APPLICATION TO EMPLOY KANE RUSSELL COLEMAN LOGAN PC AS COUNSEL FOR                                                         PAGE 1
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
7330874 v1 (72278.00002.000)
  Case 19-42886                Doc 80   Filed 11/12/19 Entered 11/12/19 19:54:29        Desc Main
                                          Document     Page 2 of 7


         The Official Unsecured Creditors' Committee (the "Committee") for for Zenergy Brands,

Inc. and its debtor affiliates (collectively, the “Debtors”) files this Application (the "Application")

to Employ Kane Russell Coleman Logan PC as Counsel for the Committee and in support thereof

would respectfully show the Court as follows:

                   JURISDICTION; VENUE; STATUTORY BASIS FOR RELIEF

         1.        This Court has jurisdiction over this Application and any hearings or orders entered

pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue of this case and proceeding is in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The

relief sought in this Application is based upon section 327(a) of title 11, United States Code, 11

U.S.C. §§ 101, et seq. (the "Bankruptcy Code"), and Fed. R. Bankr. P. 2104(a) and 2016(b).

                                             BACKGROUND

         2.        On October 24, 2019 (the "Petition Date"), the Debtors filed their voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code.

         3.        The Debtors continue to operate their respective businesses and manage their

properties as debtor-in-possession pursuant to Bankruptcy Code §§ 1107 and 1108. As of the date

hereof, no trustee, or examiner has been appointed.

         4.        On November 4, 2019, the United States Trustee for the Eastern District of Texas

(the "Trustee") appointed the Committee. The Committee currently consists of the following

voting members:

         (a) Brett Rosen, RB Capital Partners, Inc.
         (b) Michael Ziegler
         (c) Ashley Gee

         5.        Following the Committee's initial appointment, the Committee elected Brett Rosen

on behalf of RB Capital Partners, Inc., as Committee chairman and hired, subject to Court approval,

Kane Russell Coleman Logan PC as the Committee's counsel ("KRCL").

APPLICATION TO EMPLOY KANE RUSSELL COLEMAN LOGAN PC AS COUNSEL FOR                              PAGE 2
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
7330874 v1 (72278.00002.000)
  Case 19-42886                Doc 80   Filed 11/12/19 Entered 11/12/19 19:54:29          Desc Main
                                          Document     Page 3 of 7


                                          RELIEF REQUESTED

         6.        The Committee seeks Court authority to employ KRCL as counsel for the

Committee, pursuant to 11 U.S.C. §§ 328 and 1103, effective November 4, 2019. KRCL presently

maintains offices at 901 Main Street, Suite 5200, Dallas, Texas 75202. KRCL's telephone and

facsimile numbers are (214) 777-4200 and (214) 777-4299, respectively.

         7.        The Declaration of Joseph M. Coleman (Texas State Bar No. 04566100), a

shareholder of KRCL, is annexed hereto as Exhibit "A" in support of this Application in accordance

with 11 U.S.C. § 1103 and Bankruptcy Rule 2014 and Local Bankruptcy Rule 2014.

         8.        The Committee selected Joseph M. Coleman and KRCL to serve as its counsel

because Mr. Coleman and the members of KRCL possess considerable experience in matters of this

nature and are well qualified to represent the Committee in this case. Mr. Coleman has over thirty

years' experience practicing bankruptcy law in courts across the United States. Moreover, Mr.

Coleman and other KRLC attorneys have extensive experience representing creditors' committees,

having represented 42 committees in 17 states.

         9.        The professional services KRCL will render for the Committee include, but are not

limited to, the following:

         (a)       Providing the Committee with legal advice concerning its duties, powers and rights
                   in relation to the Debtors and the administration of the Debtors' bankruptcy case;

         (b)       Assisting the Committee in the investigation of the acts, conduct, assets, and
                   liabilities of the Debtors, and any other matters relevant to the case or to the
                   formulation of a plan of reorganization;

         (c)       Assisting the Committee with key motions, such as DIP financing;

         (d)       Assisting the Committee and Debtors in the formulation of a plan of reorganization,
                   or if appropriate, to formulate the Committee's own plan of reorganization;

         (e)       Taking such action necessary to preserve and protect the rights of all of the Debtors'
                   unsecured creditors;



APPLICATION TO EMPLOY KANE RUSSELL COLEMAN LOGAN PC AS COUNSEL FOR                                PAGE 3
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
7330874 v1 (72278.00002.000)
  Case 19-42886                Doc 80   Filed 11/12/19 Entered 11/12/19 19:54:29           Desc Main
                                          Document     Page 4 of 7


         (f)       Investigate potential causes of action against third parties for the benefit of the
                   bankruptcy estate;

         (g)       Preparing on behalf of the Committee all necessary applications, pleadings, adversary
                   proceedings, answers, reports, orders, responses, and other legal documents;

         (h)       Conducting appropriate discovery and investigations into the Debtors' operations,
                   valuation of assets, lending relationships, management, Debtors' affiliates, and causes
                   of action; and

         (i)       Performing all other legal services which may be necessary and in the best interests
                   of the unsecured creditors of the Debtors' estate.

         10.       Joseph M. Coleman, and each of the attorneys listed below are in good standing as

current members of the United States Bankruptcy Court for the Eastern District of Texas, among

other courts.

         11.       KRCL proposes to bill at normal hourly rates for attorneys and paralegals involved

in representing the Committee. Below are the usual and customary rates of the individuals KRCL

expects to be involved in this matter:

                                 Attorney                              Standard Hourly Rate

         Joseph M. Coleman                                  $615.00
         S. Kyle Woodard                                    $300.00
         Directors                                          $350.00 – $600.00
         Associates                                         $260.00 – $385.00
         Paralegals                                         $125.00 – $225.00

         12.       KRCL also requires reimbursement for actual, necessary expenses incurred in

representing the Committee. Expenses typically charged to clients, and for which KRCL may seek

reimbursement include, among other things, telephone and telecopy, travel, and other travel-related

charges, mail and express mail charges, special or hand delivery charges, document processing,

photocopying charges, expenses for "working meals," computerized research, transcription costs as

well as non-ordinary overhead expenses such as secretarial overtime necessitated by emergencies


APPLICATION TO EMPLOY KANE RUSSELL COLEMAN LOGAN PC AS COUNSEL FOR                                 PAGE 4
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
7330874 v1 (72278.00002.000)
  Case 19-42886                Doc 80   Filed 11/12/19 Entered 11/12/19 19:54:29           Desc Main
                                          Document     Page 5 of 7


beyond KRCL's control. KRCL's practice, with respect to facsimile charges, is not to charge for

incoming faxes, but to only charge for outgoing facsimiles at the rate of $.50 per page (local) and

$.55 per page (long distance). KRCL believes it is fair to charge these expenses to clients incurring

them rather than increase hourly rates and spread the expenses among all clients.

         13.       KRCL will charge the Committee for its costs and expenses in a manner consistent

with KRCL's other clients.

         14.       Subject to this Court's approval of the Application, the Committee has agreed to

employ KRCL as counsel at its standard hourly rates and pursuant to the terms set forth above, with

such compensation to be paid in accordance with 11 U.S.C. §§ 328, 330, 331, Bankruptcy Rule 2016,

and other orders of this Court.

         15.       The Committee believes that the employment of KRCL would be in the best interest

of this estate and will greatly assist the Committee in moving this case forward. The Committee

bases this belief, without limitation, upon the specific experience and knowledge which Mr.

Coleman and his fellow directors and associates have as a result of their prior representation of

creditors' committees in numerous other bankruptcy cases, and the general expertise and skill of

lawyers employed by KRCL.

         16.       The Committee requests that this Court authorize the retention of KRCL as Counsel

for the Committee pursuant to 11 U.S.C. §§ 328 and 1103(b).

         17.       The foregoing Application and accompanying Declaration of Joseph M. Coleman are

based upon the best information currently available to KRCL and the Committee. The Committee

and KRCL will supplement this Application as necessary should new information come to light.

                                                 NOTICE

         18.       Pursuant to Local Rule 9013(f) and as set forth in the attached Certificate of Service,

this Application has been served on the Debtors, the Debtors' counsel, the Office of the United

APPLICATION TO EMPLOY KANE RUSSELL COLEMAN LOGAN PC AS COUNSEL FOR                                 PAGE 5
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
7330874 v1 (72278.00002.000)
Case 19-42886   Doc 80   Filed 11/12/19 Entered 11/12/19 19:54:29   Desc Main
                           Document     Page 6 of 7
  Case 19-42886                Doc 80   Filed 11/12/19 Entered 11/12/19 19:54:29      Desc Main
                                          Document     Page 7 of 7


                                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Application was
served on all parties receiving ECF Notification at the date and time filed, and on November 13,
2019, to the parties listed on the attached Limited Master Service List [Docket No. 77] via First
Class U.S. Mail.

                                                        /s/Joseph M. Coleman
                                                        Joseph M. Coleman




APPLICATION TO EMPLOY KANE RUSSELL COLEMAN LOGAN PC AS COUNSEL FOR                            PAGE 7
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
7330874 v1 (72278.00002.000)
